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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

VISHVA DESAI and PHILIP J. CHARVAT, on
behalf of themselves and others similarly
situated,

Plaintiffs,

Case No. 1:11-cv-1925
v.

ADT SECURI'I`Y SERVICES, INC.,

I)efendant.

FINAL ORDER OF JUDGMENT AND DISMISSAL
This matter coming to be heard on Piaintiffs Vishva Desai and Philip J. Charvat’s

(collectively, “Plaintiffs”) Unopposed Motion for Final Approval ofClass Action Settlement
(“Motion”), due and adequate notice having been given to the Settlement Class, and the Court
having considered all papers filed and proceedings in this matter, it is HEREBY ORDERED,
ADJUDGED and DECREED as follows:

1. Afl capitalized terms in this Final Order ofJudgment and Dismissal shall
have the same meaning as ascribed to them in the Settlement Agreement and Release, unless
otherwise noted.A

2. This Cou.rt hasjurisdiction over the subject matter cf the Action and
personaljurisdiction over all parties to the Action, including all Settlernent Class Members.

3. The Court preliminarily approved the Settlement Agreernent by

Preliminary Approval Order dated February 19, 2013, and notice was given to ali members of

the Settlement Class pursuant to the terms of the Preliminary Approval Order.

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4. The Court has read and considered the papers filed in support of the
Motion, including the Settlement Agreement and the exhibits thereto, memoranda and arguments
submitted on behalf of the Settlement Class and the defendant, ADT Security Services, Inc.
(“ADT”) (now known as The ADT Corporation or ADT, LLC (collectively “ADT” or “ADT
Security Services, Inc.”), and supporting declarations The Court has also read and considered
any written objections filed with the Clerl< of the Court by Settlement Class Mernbers. The
Court held a hearing on lune 21, 2013, at which time the Parties and all other interested persons
were afforded the opportunity to be heard in support of and in opposition to the Settlement.

5. Based on the papers filed with the Court and the presentations made to the
Court by the Parties and other interested persons at the hearing, the Court now gives final
approval to the Settlement and finds that the Settlement Agreement is fair, adequate, reasonable,
and in the best interests of the Settlement Class. Specitically, the complex legal and factual
posture of the Action, and the fact that the Settlement Agreement is the result of arms’ length
negotiations presided over by a neutral mediator support this finding

6. Pursuant to Federal Rule of Civil Procedure 23(0), the Court certifies, for
settlement purposes only, the following Settlement Class:

All persons or entities who, at any time from January l, 2007

through the date of the Settlement Agreement, received one or

more Covered Calls. “Covered Calls” means either (l) a

telemarketing call utilizing a pre-recorded message or (2) a

telemarketing call to a cell phone that was made through the use of

automated dialing equipment, where the call described in (l)

and/or (2) relates in any way to ADT Security Services, Inc.

Covered Calls include calls initiated or made by ADT or by

someone acting or purporting to act on behalf of ADT, or calls

initiated or made by someone seeking to sell products or services

relating in any way to ADT, including calls made by ADT’s

Authorized Dealers, ADT’s Authorized Telemarketers, AD'l"s

Marl<eting Partners, or calls initiated or made by anyone seeking
to sell leads relating to ADT, or any calls initiated or made by

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anyone seeking to sell leads relating to ADT to anyone else, where
the lead sought to be generated from the call ultimately could have
been sold to ADT, ADT’s Authorized Dealers, ADT’s Authorized
Telemarketers, or ADT’s Marl<eting Partners, including but not
limited to any calls made or caused to be made by Christopher
Long (or any entity associated with Christopher LOng), Oscar
Montenegro (or any entity associated with Oscar Montenegro),
EMI, Inc. (also known as European Marketin g International and
European Media International and Nationwide Media, lnc.)
(collectively “EMI”) (or anyone acting by, through, or with EMI),
Direct Savings USA, LLC (or anyone acting by, through, or with
Direct Savings USA, LLC), Direct Savings USA, Inc. (or anyone
acting by, through, or with Direct Savings USA, lnc.), Paramount
Media Group (or anyone acting by, through or with Pararnount
Media Group), Dynamic Interactive Corp. (or anyone acting by,
through or with Dynamic Interactive Corp.), Pete Tolman, Leads
Direct Marketing (or anyone acting by, through, or with Leads
Direct Marketing), Voice Tel Corp. (or anyone acting by, through,
or with Voice Tel Corp.), TM Caller ID (or anyone acting by,
through, or with TM Caller ID), City VIP (or anyone acting by,
through, or with City VIP), and JMB Enterprises (or anyone acting
by, through, or with JMB Enterprises). Covered Calls included
any such calls whether or not authorized by, approved by, or
known by ADT.

7. Pursuant to Federal Rule of Civil Procedure 23, and for settlement
purposes only, plaintiffs Vishva Desai and Philip J . Charvat are hereby appointed as class
representatives and the following counsel are hereby appointed as Class Counsel:

Edward A, Broderick
Anthony I. Paronich
Broderick Law, P.C.
125 Summer St., Suite 1030
Boston, MA 02110

Matthew P. McCue
The l_,aw Oftice of Matthew P. McCue
l South Ave, Third Floor
Natick, MA 01760

Alexander E. Burke
Burke Law Oftices, LLC
155 N. Michigan Ave., Suite 9020
Chicago, IL 60601

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Brian K. Murphy
Joseph F. Murray
l\/lurray Murphy Moul + Basil LLP
1533 Lake Shore Drive
Columbus, OH 43204

lohn W. Barrett
Jonathan Marshall
Bailey & Glasser, LLP
227 Capitol Street
Charleston, West Virginia 25301

8. With respect to the Settlement Class, this Court finds for settlement
purposes only that: (a) the Settlement Class as defined above is so numerous that joinder of all
members is impracticable; (b) there are questions of law or fact common to the Settlement Class;
(c) the claims of the class representatives, identified above, are typical of the claims of the
Settlement Class; (d) the class representatives will fairly and adequately protect the interests of
the Settlement Class; (e) the questions of law or fact common to the members of the Settlement
Class predominate over the questions affecting only individual members, and (f) certification of
the Settlement Class is superior to other available methods for the fair and efficient adjudication
of the controversy The Court further finds that (A) the members of the Settlement Class have a
limited interest in individually prosecuting the claims at issue; (B) the Court is satisfied with
Class Counsel’s representation that they are unaware of any other litigation commenced
regarding the claims at issue by members of the Settlement Class; (C) it is desirable to
concentrate the claims in this forum; and (D) it is unlikely that there will be difficulties
encountered in administering this Settlement. ln the event the Settlement Agreement terminates
pursuant to its terms for any reason, the conditional certification of the Settlement Class pursuant
to this Order shall be vacated automatically and shall be null and void, and this Action shall

revert to its status immediately prior to the execution of the Settlement Agreement.

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9. The Court has determined that the Notice given to the Settlement Class
Members, in accordance with the Preliminary Approval Order, hilly and accurately informed
members of the Settlement Class of all material elements of the Settlement and constituted the
best notice practicable under the circumstances, and fully satisfied the requirements of Due
Process, F ederal RuIe of Civil Procedure 23, and all applicable law.

1`0. The Court finds that ADT properly and timely notified the appropriate
state and federal officials of the Settlement Agreement pursuant to the Class Action Fairness Act
of 2005 (“CAFA”), 28 U.S.C. § 1715. The Court has reviewed the substance of ADT’s notices
and accompanying materials, and finds that they complied with all applicable requirements of
CAFA.

ll. The persons who made timely and valid requests for exclusion are
excluded from the Settlement Class and are not bound by this Final Order of Judgment and
Disrnissal.

12. The Court orders the parties to the Settlement Agreement to perform their
obligations thereunder. The Settlement Agreement shall be deemed incorporated herein as if
explicitly set forth and shall have the full force of an order of this Court.

13. The Court dismisses this Action with prejudice and without costs (except
as otherwise provided herein and in the Settlement Agreement) as to Plaintiffs’ and all
Settlement Class Members’ claims against ADT, and ADT’s claims against third-party
defendants Eversafe Security Systems lnc. and Safe Streets USA, LLC only. All other claims in
the Action shall remain active, including ADT’s other third party claims for indemnification
The Court adjudges that the Released Claims and all of the claims described in the Settlement

Agreement are released against the Released Parties.

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14. The Court adjudges that the Piaintiffs and all Settlement Class Members
who receive money from the Settlement Fund under the Settlement Agreernent shall be deemed
to have fully, finally and forever released, relinquished and discharged all Released Claims
against the Released Parties, as defined by the Settlement Agreement. The Court further
adjudges that each Settlement Class Member who does not opt out ofthe Settlement, but for
whatever reason does not receive money from the Settlement Fund, has nonetheless received
valid consideration in the form of the additional measures ADT has undertaken regarding pre-
recorded telernarketing calls, and they shall be deemed to have fiilly, finally and forever released
relinquished and discharged all Released Claims against the Released Parties.

15. The Released Claims specifically extend to claims that Plaintiffs and
Settlement Class Members do not know or suspect to exist in their favor at the time that the
Settlement Agreement, and the releases contained therein, become effective The Court finds
that Plaintiffs have, and the Settlement Class Members are deemed to have, knowingly waived
California Civil Code section 1542 and any other applicable federal or state statute, case law,
rule or regulation relating to limitations on releases

16. The Court further adjudges that upon the Efi`ective Date, the above-
described release of the Released Claims and the Settlement Agreement will be binding on, and
have res judicata and preclusive effect in all pending and future lawsuits or other proceedings
maintained by or on behalf of, Plaintif`fs and all other Settlement Class Members (who did not
validly and timely opt out of the Settlement), and their respective affiliates, assigns, heirs,
executors, administrators, successors and agents. The Released Parties may file the Settlement
Agreement and/or this Final Order of Judgment and Dismissal in any action or proceeding that

may be brought against them in order to support a defense or counterclaim based on principles of

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resjudr'cara, collateral estoppel, release, good faith settlement, judgment bar or reduction, or any
other theory of claim preclusion or issue preclusion or similar defense or counterclaim

17. Plaintiffs and Settlement Class Members (who did not validly and timely
opt out of the Settlement) are permanently barred and enjoined from asserting, commencing,
prosecuting or continuing any of the Released Claims or any of the claims described in the
Settlement Agreement against anyone

18. Without affecting the finality of this Final Order of .ludgment and
Dismissal in any way, the Court retains jurisdiction over: (a) implementation and enforcement of`
the Settlement Agreement until the final judgment contemplated hereby has become effective
and each and every act agreed to be performed by the parties hereto pursuant to the Settlement
Agreernent have been performed; (b) any other action necessary to conclude the Settlement and
to administer, effectuate, interpret and monitor compliance with the provisions of the Settlement
Agreement; and (c) all parties to this Action and the Settlement Class members for the purpose
of implementing and enforcing the Settlement Agreement, including the bar order set forth in
paragraph l7.

19. The Court approves payment of attorneys’ fees, costs and expenses to
Class Counsel in the amount of $5,090,895.99. This amount shall be paid from the Settlement
Fund in accordance with the terms of the Settlement Agreement. The Court, having considered
the materials submitted by Plaintiffs’ counsel in support of final approval of the Settlement and
their request for attorneys’ fees, costs, and expenses and in response to the filed objections
thereto, finds the award of attorneys’ fees, costs, and expenses appropriate and reasonable for the
following reasons: First, the Court finds that the quantifiable value of the Settlement is at least

$15 million and that the Settlement also provides additional unquantifiable but nevertheless

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valuable benefits to Settlement Class Members in the form of changes to ADT’s practices The
Court therefore considers the Settlement to provide substantial benefits to the Settlement Ciass.
Second, the Court finds the payment fair and reasonable in light ofthe substantial work
performed by Plaintiffs’ counsel. Third, the Court concludes that the Settlement was negotiated
at arrns’ length and without collusion, and that negotiation of the attorney’s fees followed
agreement on the settlement benefits for Settlement Class Members. Finally, the Court notes that
the class notice specifically and clearly advised the class that Class Counsel, as a group, would
seek the award.

20. The Court approves the incentive fee payments of $30,000 each for Philip
J. Charvat and Vishva Desai and specifically finds such amount to be reasonable in light of the
service performed by Plaintiffs for the class. These amounts shall be paid from the Settlement
Fund in accordance with the terms of the Settlement Agreement.

21. Neither this Final Order ofJudgment and Dismissal nor the Settlement
Agreement shall be construed or used as an admission or concession by or against ADT or any of
the Released Parties of any fault, omission, liability, or wrongdoing, or the validity of any of the
Released Claims. This Final Order of Judgment and Dismissal is not a finding of the validity or
invalidity of any claims in this Action or a determination of any wrongdoing by ADT or any of
the Released Parties. The final approval of the Settlement Agreement does not constitute any
opinion, position, or determination of this Court, one way or the other, as to the merits of the
claims and defenses of Plaintiffs, the Settlement Class Members, or ADT.

22. Any objections to the Settlement Agreement are overruled and denied in

all respectsl The Court finds that no just reason exists for delay in entering this Final Order of

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Judgment and Dismissal. Accordingly, the Clerk is hereby directed forthwith to enter this Final

Order of Judgment and Dismissal.

lt is so ordered, this :a,)day ofJune, 2013.

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U.S. District Court Judge Elaine E. Buckio

